Case 2:12-cv-09661-JGB-RZ Document 22 Filed 01/31/13 Page 1 of 17 Page ID #:532



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 8                       UNITED STATES DISTRICT COURT
 9                     CENTRAL DISTRICT OF CALIFORNIA
10
11 MARTHA ALVAREZ,            )            Case No. CV 12-09661 JGB
                              )            (RZx)
12                Plaintiff, )
                              )            ORDER (1) GRANTING
13       v.                   )            DEFENDANTS’ MOTION TO
                              )            DISMISS (DOC. NO. 13); AND
14   WELLS FARGO BANK, N.A., )             (2) VACATING THE FEBRUARY 4,
                              )            2013 HEARING
15                Defendant. )
     ________________________ )            [Motion filed on December
16                                         12, 2012]
17
18
          Plaintiff Martha Alvarez brings this action asserting
19
     eight claims related to the pending trustee's sale of her
20
     residence.      Before the Court is a Motion to Dismiss filed
21
     by Defendant Wells Fargo Bank, N.A. ("Wells Fargo").
22
     (Doc. No. 13.)       The Court finds Defendant’s Motion
23
     appropriate for resolution without a hearing.                   See Fed.
24
     R. Civ. P. 78; L.R. 7-15.           After reviewing and
25
     considering all papers filed in support of and in
26
     opposition to the Motion, the Court GRANTS Defendant’s
27
     Motion WITHOUT LEAVE TO AMEND.
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 1                                 I. BACKGROUND
 2
 3 A.     Allegations in the Complaint
 4
 5        On January 2, 2008, Plaintiff took out an adjustable
 6 rate mortgage on her residence for $860,000, executing a
 7 Note secured by a Deed of Trust in favor of lender World
 8 Savings Bank, FSB (“World Savings”), to which Wells Fargo
 9 is presently the successor in interest.                  (First Amended
10 Complaint (“FAC”) ¶¶15, 19, Ex. D (“Deed of Trust”).)
11 The World Savings agent allegedly represented to
12 Plaintiff that she would receive a 30-year fixed-rate
13 mortgage loan but did not disclose to Plaintiff that the
14 loan had a finance charge of $1,665,027.56 and that the
15 principal balance of the loan would increase.                     (FAC ¶¶
16 15, 16.)       Plaintiff attempted to modify her loan, but
17 Defendant or agents thereof denied her application to do
18 so on six occasions.            (Id. ¶ 17.)      Defendant recorded a
19 notice of default and notice of trustee’s sale of the
20 property; the sale date is currently pending.                     (Id. ¶
21 18.)
22
23 B.     Procedural History
24
25        Plaintiff through her counsel filed her original
26 Complaint on October 1, 2012, in the California Superior
27 Court for the County of Los Angeles, alleging claims for
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 1        1.  Violation of California Bus. & Prof. Code §
              17200 et seq.;
 2       2. Unfair and Deceptive Business Practices in Loan
              Servicing;
 3       3. Unfair and Deceptive Business Practices in
              Foreclosure Process;
 4       4. Fraud in Loan Origination;
         5. Set Aside Pending Trustee’s Sale Based on
 5            Wrongful Foreclosure Proceedings (Cal. Civ. Code
              § 2923.5);
 6       6. Violation of RESPA;
         7. Breach of Implied Covenant of Good Faith and
 7            Fair Dealing;
         8. Cancelation of Void Contract and Restitution;
 8       9. Quiet Title; and
         10. Declaratory Relief
 9   (Compl., Ex. 1 to Not. of Removal (Doc. No. 1).)
10
          Defendant removed the action to this Court on
11
     November 9, 2012.        (See Not. of Removal.)           On November
12
     16, 2012, Defendant filed a Motion to Dismiss and a
13
     Motion to Strike (Doc. Nos. 7, 8), both of which were
14
     mooted by Plaintiff’s FAC (Doc. No. 10), filed on
15
     December 7, 2012, and alleging claims for
16
           1.    Unfair or Deceptive Business Practices in Loan
17               Origination;
           2.    Unfair or Deceptive Business Practices in Loan
18               Servicing;
           3.    Unfair or Deceptive Business Practices in
19               Foreclosure Process;
           4.    Fraud in Loan Origination;
20         5.    Breach of Implied Covenant of Good Faith and
                 Fair Dealing;
21         6.    Cancelation of Void Contract and Restitution;
           7.    Quiet Title; and
22         8.    Declaratory Relief
23
          Defendant then filed its Motion to Dismiss
24
     Plaintiff’s FAC (“Motion”) on December 21, 2012.                    (Doc.
25
     No. 13.)      Plaintiff filed her Opposition on January 7,
26
     2013.      (Doc. No. 18.)      Defendant replied on January 14,
27
     2013.      (Doc. No. 20.)
28
                                           3
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 1 C.     Request for Judicial Notice
 2
 3        Defendant filed a Request for Judicial Notice ("RJN")
 4 (Doc. No. 14) with its Motion on October 9, 2012,
 5 requesting the Court to take judicial notice of (1) a
 6 Certificate of Corporate Existence dated April 21, 2006,
 7 issued by the Office of Thrift Supervision, Department of
 8 the Treasury (“OTS”), certifying that World Savings was a
 9 federal savings bank; (2) the Charter of Wachovia
10 Mortgage, FSB; (3) an OTS letter authorizing a name
11 change from World Savings to Wachovia; (4) the Official
12 Certification of the Comptroller of the Currency stating
13 that Wachovia converted to Wells Fargo Bank Southwest,
14 N.A., which then merged with and into Wells Fargo Bank,
15 N.A; (5) a printed webpage from the Federal Deposit
16 Insurance Corporation showing the history of Wachovia;
17 (6) a Deed of Trust recorded on January 2, 2008; (7) a
18 Fixed-Rate Mortgage Note signed by Plaintiff on December
19 24, 2007; (8) a Notice of Default recorded on July 30,
20 2009; (9) a Notice of Trustee's Sale recorded on May 21,
21 2012; (10) and California Department of Real Estate
22 license information regarding Plaintiff.1
23
24        A court may take judicial notice of court filings and
25 other matters of public record.               See Reyn's Pasta Bella,
26 LLC v. Visa USA, Inc., 442 F.3d 741, 746 n.6 (9th Cir.
27        1
         The Court lists only those exhibits on which it
28 relies in this Order.
                                           4
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 1 2006) (citing Burbank-Glendale-Pasadena Airport Auth. v.
 2 City of Burbank, 136 F.3d 1360, 1364 (9th Cir. 1998)).
 3 Defendant has provided reference numbers for these
 4 documents, showing that they were in fact recorded; this
 5 demonstrates that the documents are public records.                       See
 6 Grant v. Aurora Loan Servs., Inc., 736 F. Supp. 2d 1257,
 7 1264 (C.D. Cal. 2010) (collecting cases); Velazquez v.
 8 GMAC Mortg. Corp., 605 F. Supp. 2d 1049, 1057–58 (C.D.
 9 Cal. 2008).        The Court grants judicial notice of these
10 documents.
11
12                             II. LEGAL STANDARD
13
14 A.     Dismissal Under Rule 12(b)(6)
15
16        Federal Rule of Civil Procedure 12(b)(6) allows a
17 party to bring a motion to dismiss for failure to state a
18 claim upon which relief can be granted.                  Rule 12(b)(6) is
19 read in conjunction with Rule 8(a), which requires only a
20 short and plain statement of the claim showing that the
21 pleader is entitled to relief.               Fed. R. Civ. P. 8(a)(2);
22 Conley v. Gibson, 355 U.S. 41, 47 (1957) (holding that
23 the Federal Rules require that a plaintiff provide "'a
24 short and plain statement of the claim' that will give
25 the defendant fair notice of what the plaintiff's claim
26 is and the grounds upon which it rests." (quoting Fed. R.
27 Civ. P. 8(a)(2))); Bell Atl. Corp. v. Twombly, 550 U.S.
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 1 544, 555 (2007).          When evaluating a Rule 12(b)(6) motion,
 2 a court must accept all material allegations in the
 3 complaint — as well as any reasonable inferences to be
 4 drawn from them — as true and construe them in the light
 5 most favorable to the non-moving party.                  See Doe v.
 6 United States, 419 F.3d 1058, 1062 (9th Cir. 2005); ARC
 7 Ecology v. U.S. Dep't of Air Force, 411 F.3d 1092, 1096
 8 (9th Cir. 2005); Moyo v. Gomez, 32 F.3d 1382, 1384 (9th
 9 Cir. 1994).
10
11          "While a complaint attacked by a Rule 12(b)(6)
12 motion to dismiss does not need detailed factual
13 allegations, a plaintiff's obligation to provide the
14 'grounds' of his 'entitlement to relief' requires more
15 than labels and conclusions, and a formulaic recitation
16 of the elements of a cause of action will not do."
17 Twombly, 550 U.S. at 555 (citations omitted).                     Rather,
18 the allegations in the complaint "must be enough to raise
19 a right to relief above the speculative level."                     Id.
20
21        To survive a motion to dismiss, a plaintiff must
22 allege "enough facts to state a claim to relief that is
23 plausible on its face."             Twombly, 550 U.S. at 570;
24 Ashcroft v. Iqbal, 556 U.S. 662, 129 S. Ct. 1937, 1949
25 (2009).       "The plausibility standard is not akin to a
26 'probability requirement,' but it asks for more than a
27 sheer possibility that a defendant has acted unlawfully.
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 1 Where a complaint pleads facts that are 'merely
 2 consistent with' a defendant's liability, it stops short
 3 of the line between possibility and plausibility of
 4 'entitlement to relief.'"             Iqbal, 129 S. Ct. at 1949
 5 (quoting Twombly, 550 U.S. at 556).                 The Ninth Circuit
 6 has clarified that (1) a complaint must "contain
 7 sufficient allegations of underlying facts to give fair
 8 notice and to enable the opposing party to defend itself
 9 effectively," and (2) "the factual allegations that are
10 taken as true must plausibly suggest an entitlement to
11 relief, such that it is not unfair to require the
12 opposing party to be subjected to the expense of
13 discovery and continued litigation."                 Starr v. Baca, 652
14 F.3d 1202, 1216 (9th Cir. 2011).
15
16        Although the scope of review is limited to the
17 contents of the complaint, the Court may also consider
18 exhibits submitted with the complaint, Hal Roach Studios,
19 Inc. v. Richard Feiner & Co., 896 F.2d 1542, 1555 n.19
20 (9th Cir. 1990), and "take judicial notice of matters of
21 public record outside the pleadings," Mir v. Little Co.
22 of Mary Hosp., 844 F.2d 646, 649 (9th Cir. 1988)
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 1                                III. DISCUSSION
 2
     A.   Sufficiency of the Complaint
 3
 4        1.    Plaintiff’s Claims are Preempted by the Home
                Owners’ Loan Act
 5
 6        Wells Fargo contends that all of Plaintiff’s claims
 7 should be dismissed because they are state law claims
 8 preempted by the Home Owners’ Loan Act (“HOLA”), as World
 9 Savings was a federal savings bank regulated by the
10 Office of Thrift Supervision (“OTS”).                  (See Mot. at 2-5;
11 RJN, Ex. A, C.)          The OTS “occupies the entire field of
12 lending regulation for federal savings associations.”                          12
13 C.F.R. § 560.2.          The Ninth Circuit has found that HOLA
14 confers on OTS “broad authority to issue regulations
15 governing thrifts.”           Silvas v. E*Trade Mortg. Corp., 514
16 F.3d 1001, 1005 (9th Cir. 2008) (citing 12 U.S.C. §
17 1464).      “As the principal regulator for federal savings
18 associations, OTS promulgated a preemption regulation in
19 12 C.F.R. § 560.2.”           Id.    The regulations implementing
20 HOLA described the following types of state law as
21 preempted by HOLA: terms of credit, including
22 amortization or loans; disclosure, including laws
23 requiring specific information and statements; and
24 “processing, origination, servicing, sale or purchase of,
25 or investment or participation in, mortgages.”                     See 12
26 C.F.R. § 560.2(b)(4, 9, 10).
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 1        “In addition to the mandate in § 560.2(a) and (b),
 2 OTS has outlined a proper analysis in evaluating whether
 3 a state law is preempted under the regulation. . . . When
 4 analyzing the status of state laws under § 560.2, the
 5 first step will be to determine whether the type of law
 6 in question is listed in paragraph (b).                  If so, the
 7 analysis will end there; the law is preempted.”                     Silvas,
 8 514 F.3d at 1005.          All Plaintiff’s state law claims are
 9 of the type specifically listed as preempted by HOLA’s
10 paragraph (b).         See Silvas, 514 F.3d at 1006 (finding
11 claim under California Business and Professions Code
12 section 17200 for misrepresentation and misstatements
13 preempted by HOLA); Ayala v. World Savings Bank, FSB, 616
14 F. Supp. 2d 1007, 1016 (C.D. Cal. 2009) (finding fraud
15 claim preempted by HOLA); Curcio v. Wachovia Mortg.
16 Corp., 2009 WL 3320499, at *6 (S.D. Cal. Oct. 14, 2009)
17 (findings claims premised on the defendant bank’s failure
18 to modify the loan preempted by HOLA).                  Thus, the Court
19 finds all Plaintiff’s claims fall within the category of
20 laws specifically preempted by HOLA.                 Were this not so,
21 however, Plaintiff would still fail to state a claim
22 under Rule 12(b)(6) for the reasons set forth below.
23
          2.    Failure to Tender Bars Plaintiff's Equitable
24
                Claims
25
26
          Defendant argues that Plaintiff's claims are barred
27
     by her failure to tender.           (Mot. at 14–15.)         Plaintiff
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  1 asserts that it would be an undue hardship to require her
  2 to tender and inequitable because the loan arose as a
  3 result of Defendant’s fraudulent conduct.                   (Opp'n at 10.)
  4
  5        Generally, a debtor challenging a foreclosure sale is
  6 required to make a tender or otherwise offer to pay the
  7 full amount of his debt.            See Sierra-Bay Fed. Land Bank
  8 Ass'n v. Superior Court, 227 Cal. App. 3d 318, 337
  9 (1991); U.S. Cold Storage v. Great W. Sav. & Loan Ass'n,
10 165 Cal. App. 3d 1214, 1225 (1985); see also Alicea v. GE
11 Money Bank, No. C. 09-00091 SBA, 2009 WL 2136969, at *3
12 (N.D. Cal. July 16, 2009) ("When a debtor is in default
13 of a home mortgage loan, and a foreclosure is either
14 pending or has taken place, the debtor must allege a
15 credible tender of the amount of the secured debt.").
16 This rule is rooted in equity and premised on the notion
17 that "[i]t would be futile to set aside a foreclosure
18 sale on the technical ground that notice was improper, if
19 the party making the challenge did not first make full
20 tender and thereby establish his ability to purchase the
21 property."        U.S. Cold Storage, 165 Cal. App. 3d at 1225.
22
23          Exceptions to the tender rule do exist.                 In Onofrio
24 v. Rice, 55 Cal. App. 4th 413 (1997), the court held that
25 tender may not be required where it would be "inequitable
26 to do so" or "the action attacks the validity of the
27 underlying debt."           Id. at 424.       There, the court affirmed
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  1 the lower court's decision not to require a tender where
  2 the person who purchased the plaintiff's property at
  3 foreclosure was the plaintiff's own foreclosure
  4 consultant who represented that he would assist her in
  5 avoiding foreclosure.           In Lona v. Citibank, N.A., 202
  6 Cal. App. 4th 89 (2011), the court reaffirmed these
  7 exceptions to the tender rule, noting "if the borrower's
  8 action attacks the validity of the underlying debt, a
  9 tender is not required since it would constitute an
10 affirmation of the debt."              Id. at 112-13.
11
12         Plaintiff, as elaborated below regarding her fraud
13 claims, does not attack the validity of the debt itself,
14 but argues only that Defendant failed to inform her about
15 certain terms of the loan.              Procedural violations are not
16 the type of inequitable circumstances that qualify a
17 debtor for an exception to the tender rule.                    See Arnolds
18 Mgmt. Corp. v. Eischen, 158 Cal. App. 3d 575, 578 (1984)
19 ("It is settled that an action to set aside a trustee's
20 sale for irregularities in sale notice or procedure
21 should be accompanied by an offer to pay the full amount
22 of the debt for which the property was security."), cited
23 in Grant v. Aurora Loan Servs., Inc., 736 F. Supp. 2d
24 1257, 1269 (C.D. Cal. 2010).                 In addition, as set forth
25 below, Plaintiff has failed to allege sufficiently that
26 Defendant committed fraud.              Thus, there is nothing
27 inequitable about requiring tender in this instance.
28
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  1        To be valid, tender must be unconditional and for the
  2 full amount of the debt.            Arnolds Mgmt. Corp. v. Eischen,
  3 158 Cal. App. 3d 575, 580 (1984).                The ability to pay is
  4 an implicit requirement.            Karlsen v. Am. Sav. & Loan
  5 Ass'n, 15 Cal. App. 3d 112, 118 (1971).                  Plaintiff in her
  6 FAC neither alleges that she is ready and willing to pay
  7 the full amount of the debt, nor that she is financially
  8 able to do so.         Plaintiff in fact states that requiring
  9 her to tender would be “a hardship.”                 (Opp’n at 10.)
10
11         Plaintiff's failure to allege a credible offer of
12 tender is fatal to her equitable claims.
13
14        3. Failure to State Fraud Claims
15
16        Plaintiff in her “fraud in loan origination claim”
17 alleges that “Plaintiff had no knowledge of the negative
18 amortization component of the loan and had no way of
19 discovering the undisclosed loan terms because of the
20 deceptive manner in which the loan documents were drafted
21 until Plaintiff received the Notice of Trustee Sale which
22 put her on notice of the substantial increase in the loan
23 balance.”        (FAC ¶ 66.)       In addition, Plaintiff's three
24 claims for violation of California Business & Professions
25 Code § 17200 are based on Defendant’s allegedly
26 fraudulent conduct.            (See FAC ¶¶ 31-40 (deception in loan
27 origination); 52, 54 (deception in loan servicing); 58-61
28
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  1 (deception in foreclosure process).)                 Plaintiff fails to
  2 adequately allege a claim for fraud.
  3
  4       First, under California law, the elements of a fraud
  5 claim are false representation, knowledge of its falsity,
  6 intent to defraud, justifiable reliance, and damages.
  7 Hackethal v. Nat'l Cas. Co., 189 Cal. App. 3d 1102, 1111
  8 (1987).      The crux of Plaintiff’s argument is that the
  9 Wells Fargo agent “did not disclose and Plaintiff was not
10 aware that, among other things, the loan had a finance
11 charge of $1,665,027.56, and that the principal balance
12 of the loan would dramatically increase.”                    (FAC ¶ 16.)
13 “[T]o establish fraud through nondisclosure or
14 concealment of facts, it is necessary to show the
15 defendant was under a legal duty to disclose them.”                       OCM
16 Principal Opportunities Fund, L.P. v. CIBC World Markets
17 Corp., 157 Cal. App. 4th 835,                846 (2007).      Here,
18 Plaintiff cannot show that Defendant owed her a duty of
19 care or a specific duty to disclose.
20
21         A duty of care may arise through statute or contract;
22 it may also be premised upon the relationship between the
23 parties or the general character of the activity in which
24 the defendant engaged.             J'Aire Corp. v. Gregory, 24 Cal.
25 3d 799, 803 (1979).            The existence of a duty of care is
26 an issue of law.           Mintz v. Blue Cross of Cal., 172 Cal.
27 App. 4th 1594, 1610 (2009).               Generally, lenders and
28
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  1 servicers do not owe a duty of care.                 See Nymark v. Heart
  2 Fed. Sav. & Loan Ass'n, 231 Cal. App. 3d 1089, 1093
  3 (1991).      Plaintiff fails to point to any special
  4 relationship or special kind of activity that bestowed a
  5 duty of care upon Defendant.                Further, Plaintiff’s
  6 assertion that she sufficiently states a fraud claim
  7 because the “complexity of the loan documents . . .
  8 concealed the terms of the loan” and because of
  9 Defendant’s “superior knowledge” of these terms is belied
10 by Plaintiff’s experience as a real estate salesperson
11 licensed in California.             (See RJN, Ex. K.)         Plaintiff
12 does not allege that Defendant made any false
13 representations and Plaintiff cannot allege that
14 Defendant owed her a duty of care; she thus cannot allege
15 any of the remaining elements of fraud.                   See Hackethal,
16 189 Cal. App. at 1111.
17
18        Second, Plaintiff fails to show adequately that her
19 fraud claims are not time-barred.                 Under Cal. Civ. Proc.
20 Code § 338(d), the statute of limitations for a fraud
21 claim is three years.            Plaintiff argues that her claims
22 are not time-barred because a fraud claim “is not deemed
23 to have accrued until the discovery of the facts
24 constituting the fraud by the aggrieved party. . . As a
25 result of the compounding half-truths,
26 misrepresentations, omissions, and Defendant’s failure to
27 provide the loan documents in a timely fashion, Plaintiff
28
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  1 was not aware of the actual loan terms and Defendant’s
  2 fraudulent actions.”           Nevertheless, Plaintiff fails to
  3 set forth this delayed-discovery argument with sufficient
  4 facts, as she does not “specifically plead facts which
  5 show (1) the time and manner of discovery and (2) the
  6 inability to have made earlier discovery despite
  7 reasonable diligence.”            CAMSI IV v. Hunter Technology
  8 Corp., 230 Cal. App. 3d 1525, 1536-1537 (1991); id.
  9 (“Mere conclusory assertions that delay in discovery was
10 reasonable are insufficient and will not enable the
11 complaint to withstand general demurrer.”).                    Therefore,
12 the Court finds that Plaintiff fails to meet her burden
13 of showing that she fraud claims are not time-barred.
14
15        4. Failure to State a Claim for Breach of Implied
16            Covenant of Good Faith and Fair Dealing
17
18        Plaintiff claims that Defendant breached the implied
19 covenant of good faith and fair dealing by denying and
20 not properly reviewing her loan modification
21 applications.         (See FAC ¶¶ 81-86.)          While loan
22 modifications in California are preferred where
23 appropriate (see Cal. Civ. Code § 2923.6 (encouraging
24 lenders to offer loan modifications to borrowers in
25 appropriate circumstances)), Defendant was not under any
26 obligation to offer Plaintiff a loan modification.                       The
27 “implied covenant of good faith and fair dealing is
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  1 limited to assuring compliance with the express terms of
  2 the contract, and cannot be extended to create
  3 obligations not contemplated by the contract.” Pasadena
  4 Live, LLC v. City of Pasadena, 114 Cal. App. 4th 1089,
  5 1093-94 (2004).         Plaintiff fails to allege anything
  6 regarding the express terms of the contract, nor can she
  7 given that the note and Deed of Trust are silent on a
  8 right to loan modification but expressly provide
  9 Defendant with the right to foreclose on Plaintiff’s
10 subject property due to default.                (See RJN, Exs. F, G.)
11
12 B.      Leave to Amend
13
14         Federal Rule of Civil Procedure 15(a) provides that
15 leave to amend "shall be freely given when justice so
16 requires."        Fed. R. Civ. P. 15(a).           A district court can
17 deny leave "where the amendment would be futile . . . or
18 where the amended complaint would be subject to
19 dismissal."         Saul v. United States, 928 F.2d 829, 843
20 (9th Cir. 1991) (citations omitted); see also Steckman v.
21 Hart Brewing, Inc., 143 F.3d 1293, 1298 (9th Cir. 1998).
22 "[A] proposed amendment is futile only if no set of facts
23 can be proved under the amendment to the pleadings that
24 would constitute a valid and sufficient claim or
25 defense."        Miller v. Rykoff-Sexton, Inc., 845 F.2d 209,
26 214 (9th Cir. 1988).
27
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  1        As set forth above, Plaintiff’s claims, all brought
  2 under California law, are preempted by HOLA.                    Were this
  3 not so, Plaintiff would still fail to plead facts
  4 sufficient to state a claim under Rule 12(b)(6).                     Thus,
  5 as the Court finds that any amendment to the pleadings
  6 would be futile, the Court dismisses Plaintiff’s FAC
  7 without leave to amend.
  8
  9                                IV. CONCLUSION
10
11         For the foregoing reasons, the Court GRANTS
12 Defendant’s Motion to Dismiss Plaintiff’s First Amended
13 Complaint WITHOUT LEAVE TO AMEND.
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25
      Dated:    January 31, 2013
26                                                  JESUS G. BERNAL
                                             United States District Judge
27
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